 Case 3:19-cv-02822-X-BT Document 51 Filed 09/25/20      Page 1 of 1 PageID 228



                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

MICHAEL JAMES WEST,                     §
                                        §
            Plaintiff,                  §
                                        §
v.                                      §         No. 3:19-CV-2822-X-BT
                                        §
ABM INDUSTRIES INC & ALLTEX             §
STAFFING AND CONSULTING LLC,            §
                                        §
            Defendant.                  §

         ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION OF THE UNITED STATES MAGISTRATE
                           JUDGE

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.

       IT IS SO ORDERED this 25th day of September 2020.




                                     BRANTLEY STARR
                                     UNITED STATES DISTRICT JUDGE




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